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                   IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION

GINA SCHMITTAUER                                )
701 South Clermont Avenue                       )
Springfield, Ohio 45505                         )
                                                )    Case No.: 3:11-cv-405
            Plaintiff,                          )
                                                )    JURY DEMAND REQUESTED
       v.                                       )
                                                )    VERIFIED CIVIL COMPLAINT
                                                )    (Unlawful Debt Collection Practices)
PMAB, LLC                                       )
5970 Fairview Road, Suite 800                   )
Charlotte, North Carolina 28210                 )
                                                )
            Defendant.                          )



                              VERIFIED COMPLAINT

      PLAINTIFF GINA SCHMITTAUER (Plaintiff), by her attorneys, KAHN AND
ASSOCIATES, L.L.C., alleges the following against DEFENDANT PMAB, LLC
(Defendant):

                                  INTRODUCTION

  1. Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15

      U.S.C. 1692 et seq. (FDCPA).

                           JURISDICTION AND VENUE

   2. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that

       such actions may be brought and heard before “any appropriate United States

       district court without regard to the amount in controversy,” and 28 U.S.C. 1367

       grants this court supplemental jurisdiction over the state claims contained therein.

   3. Because Defendant conducts business in Ohio, personal jurisdiction is

       established.
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 4. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

                                      PARTIES

 5. Plaintiff is a natural person who resides in Springfield, Clark County, Ohio and is

    allegedly obligated to pay a debt, and Plaintiff is a “consumer” as that term is

    defined by 15 U.S.C. 1692a(3).

 6. Pursuant to the definitions outlined in 15 U.S.C. 1692a(1-6),Defendant is a debt

    collector and sought to collect a consumer debt from Plaintiff which was

    allegedly due and owing from Plaintiff, and Plaintiff is a consumer debtor.

 7. Defendant is a debt collector with an office in Charlotte, North Carolina.

 8. Defendant uses instrumentalities of interstate commerce or the mails in any

    business the principal purpose of which is the collection of any debts, or who

    regularly collects or attempts to collect, directly or indirectly, debts owed or due

    or asserted to be owed or due another and is a "debt collector" as that term is

    defined by 15 U.S.C. § 1692a(6).

 9. Defendant is a collection agency that in the ordinary course of business,

    regularly, on behalf of itself or others, engages in debt collection.

                           FACTUAL ALLEGATIONS

 10. Defendant places collection calls to Plaintiff.

 11. Defendant frequently refuses to provide a proper company name when calling the

    Plaintiff.

 12. Defendant frequently fails to disclose that it is a debt collector and is seeking

    information related to an alleged debt.
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  13. Defendant places excessive collection calls to Plaintiff in an attempt to collect on

     an alleged debt.

  14. Plaintiff has received calls from Defendant up to 3-4 times per day.

  15. Defendant places collection calls to Plaintiff from telephone number: 704-553-

     7146.

                         COUNT I
DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

  16. Defendant violated the FDCPA based on the following:

         a. Defendant violated §1692d of the FDCPA by engaging in conduct the

             natural consequence of which is to harass, oppress, or abuse the Plaintiff

             in connection with the collection of a debt.

         b. Defendant violated §1692d(5) of the FDCPA by causing a telephone to

             ring or engaging any person in telephone conversation repeatedly or

             continuously with intent to annoy, abuse, or harass any person at the called

             number.

         c. Defendant violated §1692d(6) of the FDCPA by placing telephone calls

             without meaningful disclosure of the caller’s identity.

         d. Defendant violated §1692e(11) of the FDCPA by failing to disclose in the

             initial written communication with the consumer and, in addition, if the

             initial communication with the consumer is oral, in that initial oral

             communication, that the debt collector is attempting to collect a debt and

             that any information obtained will be used for that purpose, and the failure

             to disclose in subsequent communications that the communication is from

             a debt collector.
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       WHEREFORE,        Plaintiff,   GINA    SCHMITTAUER,        respectfully   requests

judgment be entered against Defendant, PMAB, LLC for the following:

   17. Statutory damages of $1000.00 pursuant to the Fair Debt Collection Practices

       Act, 15 U.S.C. 1692k,

   18. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection

       Practices Act, 15 U.S.C. 1692k

   19. Any other relief that this Honorable Court deems appropriate.

                           DEMAND FOR JURY TRIAL

       Plaintiff, GINA SCHMITTAUER, requests a jury trial in this case.

                                             RESPECTFULLY SUBMITTED,

                                             KAHN & ASSOCIATES, L.L.C.

                                             _/s/ J. Daniel Scharville_________
                                             J. DANIEL SCHARVILLE (0071132)
                                             6200 Rockside Woods Blvd., Suite 215
                                             Independence, Ohio 44131
                                             Ph.: (216) 621-6101
                                             Fax: (216) 621-6006
                                             Attorney for the Plaintiff
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                VERIFICATION OF COMPLAINT AND CERTIFICATION

STATE OF OHIO

        Plaintiff, GINA SCHMITTAUER, states the following:

   1.      I am the Plaintiff in this civil proceeding.
   2.      I have read the above-entitled civil Complaint prepared by my attorneys and I believe
           that all of the facts contained in it are true, to the best of my knowledge, information
           and belief formed after reasonable inquiry.
   3.      I believe that this civil Complaint is well grounded in fact and warranted by existing
           law or by a good faith argument for the extension, modification or reversal of existing
           law.
   4.      I believe that this civil Complaint is not interposed for any improper purpose, such as
           to harass any Defendant(s), cause unnecessary delay to any Defendant(s), or create a
           needless increase in the cost of litigation to any Defendant(s), named in the
           Complaint.
   5.      I have filed this Complaint in good faith and solely for the purposes set forth in it.

        Pursuant to 28 U.S.C. § 1746(2), I, GINA-SCHMITTAUER, hereby declare (or certify,
verify or state) under penalty of perjury that the foregoing is true and correct.


  \\A- w:    Date                                     GiNA SCHMITTAUER




                             PLAINTIFF'S VERIFIED COMPLAINT
